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AO 239 (Rev. 01/15) Application to Proceed in District Cou:'t Witl'iout Prcpaying Fees or Costs (Long Form)
UNrrED STATES DISTRICT COURT § §;;;
for the z ':~_§;
. , o ._;\2 C_
Distnet of Delaware 'C “. 'o;
. , -*~ § `¢»_~>2
. 7 m _q __, `,_
16 wm lime ) §§
Plaimr'ff/Perr'tiondr ) § §§ :':
v. ) Civil Action No. 5 §;- ,"
;/X m m 6c t lb ) ' _ ;-_z§,
Defendant/Respona'ent ) 1 8 _ ’\ 8 '| 5 D r`
_/\
APPLICATION TO PROCEED ]_N DISTRICT COU'RT WITHOU'I` PR.EPAY[NG FEES OR COS'I`S z
(Long Form)
Affidavit in Support of the Application Instructions
I am a plaintiff or petitioner in this case and declare Complete all questions in this application and then sign it.

 

 

that l am unable to pay the costs of these proceedings Do not leave any blanks: if the answer to a question is “O,"
and that I am entitled to the relief requested I declare “none,” or “not applicable fN/A),” write that responsel If
under penalty of perjury that the information below is you need more space to answer a question or to explain your
true and understand that a false statement may result in answer, attach a separate sheet of'paper identified with your

 

 

a dismissal of my cl ,' s. name, your case's docket number, and the question number.
Sig'ned: C%IM Date: ii lcl 2_ Ol Y
/ / l
/ 6 4,,§
1. For both you and your spouse estimate the average amount of money received from each of the following

sources during the past 12 months Adjust any amount that was received weeldy, biweel<ly, quarterly,
Semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions

for taxes or otherwise

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Income source Average monthly income Income amount expected
amount during the past 12 next month
months
You Spouse You SDOUS€
Employment $ 0 3 M/ {,\ $ 0 $ )Q/ fl
Self-employment 3 0 $ 101 A $ 0 $ ]\)//l'
Income from real property (such as rental income) 3 0 5 M j A $ 0 $ {\l / p‘
Interest and dividends 3 0 3 fo /A $ 0 $ )\)/A
Gifts
s 0 s 10 / pt 3 0 $ 10 / ¢£\
Ahmony $ 0 $ D/P\ $ 0 $ Nip‘
Child support 3 O $ /\] l /»\ $ 0 $ ,\) /)D(
l

 

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Reti.l‘emenf (such as social security, pensions onnuities,
insurance) $ 0 $ 0 $ 0 $ 0
Disability (such as social security, insurance payments) $ 0 $ 0 $ 0 $ 0
Unem lo ent ts
P Ym Paymen . 3 0 $ 0 $ 0 $ 0
Public~assistance (such as weljtzre) $ O $ 0 $ 0 $ 0
thel’ (specifj/):
v s O s 0 s 0 s O
Total monthly income: $ 0°00 $ o'oo $ 0`00 $ 0`00
2. List your employment history for the past two years, most recent employer first (Grass monthly pay is before taxes or
other deduction:.) '
Employer Address Dates of employment Gross
monthly pay

 

AFMW\MVL 350 Aic€@i€ml,\ §"i, 9`()\§ ¢ Au§"‘g-O\<Z$BZOO,O
MCMVK‘D£ l,cl“ll\-? $ 0 00

 

 

 

 

 

 

 

 

3. List your spouse's employment history for the past two years, most recent employer first (Gross montth pay is before
taxes or other deductions.)
Employer Address Dates of employment Gross
monthly pay

 

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r\)}f’-\ ` ¢'\llA )\llyi 3 l\l_/u
N/a op ,\i a $ ala

4. How much cash do you and your spouse have? $ 0 4‘ 00

 

 

 

 

 

 

 

 

 

Below, state any money you or your spouse have in bank accounts or in any other financial institution

 

Financial institution Type of account Amount you have Amount your
' spouse has

Cl\a$€, Sci\)`mq C(,io$e¢l.) $ O 3 kl/A
0 0 d $ 0 $ /\)//}
0 D 3 O $ N/M

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certiiied statement of each account.

 

 

 

 

 

 

 

 

 

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5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary

household furnishings

 

Assets owned by you or your spouse

 

Home (Value)

 

Other real estate (Value)

 

Motor vehicle #] (Value)

 

Make and year:

 

Model:

 

Registration #:

 

Motor vehicle #2 (Value)

 

Make and year:

 

Model:

 

Registration #:

 

Other assets (Value)

 

 

 

Othel‘ assets (Value)

 

$N/n

 

6. State every person, business, or organization owing you or your spouse money, and the amount owed.

 

Person owing you or your spouse
money

Amount owed to you

Amount owed to your spouse

 

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w M//)

 

 

 

 

 

 

$ re /\)/n
$ s N / §§
7. State the persons who rely on you or your spouse for support

 

Name (0r, if under 18, initials only)

Relationship

 

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8. Estimate the average monthly e)ipenses of you and your family. Show separately the amounts paid by your

spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

monthly rate.
You Your spouse

Rent or home-mortgage payment (includir`dig lot rented far mobile home)

Are real estate taxes included? l C| Yes Cl No $ 0 $ w /A

Is property insurance included? \CI Yes Cl No
Utilities (electricity, heating fiiel, water, sewer, and telephone) $ 0 $ r\) ih
Home maintenance (repairs and upkeep) $ 0 $ w m
Food $ § $ hi n
Clothing $ 0 $ N n
Laundry and dry-cleanmg $ 0 $ N ink
Medical and dental expenses $ 0 $ N ll n
TranSpOItathn (not includingmotor vehicle paymenls) $ 0 $ M g
Recreation, entertainment, newspapers, magazines, etc. $ 0 $ N A

 

 

Insurance (not deducted ji'om wages or included in mortgage payments)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Homeowner's orrenter's; s 0 s N n
Life; s 0 s N g
Health; s 0 s \\] F\
Mocor vehicle 1 b s 0 s N m
other: , 30 $ i\l ii
Taxes (no¢deduc¢ed/mm wages arincludedm marrgagepaymenzs) (speci]§»).- s 0 $ r\ pf
lnstallmentpayments ‘ d - b ,. ‘.
Motorvehicie: s 0 $ N ll
crediccard (,.ame): s 0 s N ll
Deparnnentscore (name): $ 0 $ N ll
other; $0 $ \\] ll
Mimony, maintenance and support paid co others s 0 s |\l g

 

 

 

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Ao 239 (Rov. 01/15) App\ioacioo to Prooood in Disrricc Coun without Prepaying rees or Cosrs (Loog Form)
§;g;zi;a;)expenses for operation of business, profession, or farm (arzach detailed $ 0 $ 0
Othel' (speci;j)): $ O $ 0
Total monthly expenses: $ 0'00 $ 0'00

10.

ll.

12.

 

 

 

 

Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
next 12 months

IJ Yes V<o If yes, describe on an attached sheet

Have you spent _ or w` you be spending - any money for expenses or attorney fees in conjunction with this
lawson n Yos o #er+ appo,`nl; leg at counsel

If yes, how much? $

Provide any other information that will help explain why you cannot pay the costs of these proceedings

unemployeeo{[ de,,,`wl come

Identify the city and state of your legal residence.

ll/lwldle+uon ,D@loowoore/

Your daytime phone number: 5 05 "' /VL%"' q 503
Your age: 22 l Your years of schooling: l §§

